4:14-cr-03085-JMG-CRZ   Doc # 232   Filed: 11/12/15   Page 1 of 1 - Page ID # 883




              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiff,                            4:14-CR-3085
     vs.
                                                         ORDER
GARY A. GOFF,
                Defendant.


     IT IS ORDERED that:

     1.    The defendant's Unopposed Motion to Continue Sentencing
           Hearing (filing 231) is granted.

     2.    Defendant Gary A. Goff's sentencing is continued to December
           18, 2015, at 11:00 a.m., before the undersigned United States
           District Judge, in Courtroom No. 1, Robert V. Denney United
           States Courthouse and Federal Building, 100 Centennial Mall
           North, Lincoln, Nebraska. The defendant shall be present at the
           hearing.

     Dated this 12th day of November, 2015.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
